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&nbsp;

IN THE COURT OF APPEALS

&nbsp;

FOR THE
SEVENTH DISTRICT OF TEXAS

&nbsp;

AT
AMARILLO

&nbsp;

PANEL A

&nbsp;



MAY
5, 2010

&nbsp;



&nbsp;

ARSENIO PETTY, APPELLANT

&nbsp;

v.

&nbsp;

THE STATE OF TEXAS, APPELLEE 



&nbsp;



&nbsp;

&nbsp;FROM THE 16TH DISTRICT COURT OF DENTON
COUNTY;

&nbsp;

NO. F-2009-0413-A; HONORABLE CARMEN RIVERA-WORLEY, JUDGE



&nbsp;



&nbsp;

Before CAMPBELL
and HANCOCK and PIRTLE, JJ.

&nbsp;

&nbsp;

ON MOTION TO ABATE AND REMAND

&nbsp;

&nbsp;

Pending before the court is Arsenio Petty’s motion to abate and remand the appeal so
that the trial court can enter findings pursuant to article 38.22 of the Texas
Code of Criminal Procedure.&nbsp; We grant the
motion.

When a trial court fails to make
findings of fact and conclusions of law in compliance with article 38.22,
section 6, of the Texas Code of Criminal Procedure, we must abate the appeal
and remand the cause to permit it to comply with the statute.&nbsp; See Tex.
Code Crim. Proc. Ann. art.
38.22, § 6 (Vernon 2005).&nbsp; Because, in the present case, the trial court
overruled appellant's complaints about the voluntariness of his statement, the
requirements of article 38.22, section 6, of the Texas Code of Criminal
Procedure were triggered here.&nbsp; Id.&nbsp; Thus, abatement and remand is necessary.&nbsp; Urias v.
State, 155 S.W.3d 141, 142 (Tex.Crim.App. 2005)
(noting the mandatory nature of art. 38.22, § 6, and requiring a trial court to
file findings of fact and conclusions of law regardless of whether the
defendant requested them or objected to their absence); Wicker v. State,
740 S.W.2d 779, 783 (Tex.Crim.App. 1987) (holding the
same).

Accordingly, this appeal is abated
and the cause is remanded to the trial court.&nbsp;
The trial court is directed to take all steps reasonably necessary to
comply with article 38.22, section 6, of the Texas Code of Criminal Procedure,
which steps include the creation of pertinent findings of fact and conclusions
of law addressing the voluntariness of appellant's statements and its decision
to reject the challenge posed by appellant.&nbsp;
The trial court is further ordered to undertake all steps reasonably
necessary to ensure that complete reporter's and clerk's records of this cause
are developed and filed with this Court.&nbsp;
These records are to include the aforementioned findings of fact and
conclusions of law.&nbsp; Furthermore, each of
the actions we direct the trial court to undertake must be performed by June 4,
2010, unless that deadline is extended by this Court.&nbsp; Further, the trial court is directed to
ensure that both the complete clerk's and reporter's records in this cause are
filed with this Court by the same date.

&nbsp;

The cause is abated and remanded to
the trial court for further proceedings in accordance with this order.

&nbsp;

Per Curiam

&nbsp;

Do not publish.

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